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                  UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF IOWA
IN RE:                                   :
                                         : BANKRUPTCY NO. 18-02019
                                         :
TERRY ALLEN NEELEY AND                   :     MOTION FOR RELIEF
YODY KAY NEELEY;                         :     FROM AUTOMATIC
                                         :          STAY
                                         :
                                Debtors. :

        COMES NOW, Nationstar Mortgage LLC dba Mr. Cooper (“Movant”) and moves the

Court, pursuant to 11 U.S.C. 362 (d) and Bankruptcy Rules 4001 and 9014, to grant relief from

Automatic Stay to permit a mortgage foreclosure action in the Iowa District Court and in support

thereof states:

        1.        That Movant is a creditor of Terry Allen Neeley and Yody Kay Neeley, and

legally entitled to enforce the loan agreement and disclosure statement and mortgage executed by

Yody K. Neeley and Terry A. Neeley, and delivered to American General Financial Services,

Inc., dated July 20, 2007 and filed of record concerning property legally described on said

mortgage. Copies of said note and mortgage are attached hereto as Exhibits A and B,

respectively. Said note and mortgage were modified pursuant to a Loan Modification Agreement.

A copy of said modification agreement is attached hereto as Exhibit B1. A copy of the

Assignment to Movant is attached hereto as Exhibit C.

        2.        That the Debtors are indebted to Movant in the sum of $35,688.71 unpaid

principal balance with interest of 10.46% per annum from and including February 1, 2018.

Debtors’ monthly payments are currently $414.71. Debtors have not made regular monthly

payments and are due for March 1, 2018. That because of said delinquency, Movant desires to

foreclose said mortgage.
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       3.      The estimated market value of the subject property is $15,000.00. The basis for

such valuation is Schedule D of the Debtors’ Petition. A copy of Schedule D is attached hereto as

Exhibit D.

       4.      Debtors have no equity in the subject property.

       5.      The subject property is not necessary to an effective reorganization.

       6.      Movant does not have, and has not been offered adequate protection for its

interest in the subject property.

       7.      If Movant is not permitted to foreclose said real estate mortgage on said property,

it will suffer irreparable injury, loss and damage.

       8.      Charles L. Smith has been appointed Trustee in this matter.

       WHEREFORE, Nationstar Mortgage LLC dba Mr. Cooper moves the Court to grant it

Relief from Automatic Stay to permit the foreclosure of its mortgage and for such further and

other relief as the Court deems just and equitable.



                                               PETOSA LAW LLP

                                               By /s/ Benjamin W. Hopkins_____
                                               Benjamin W. Hopkins AT0003573
                                               Ryan C. Holtgraves AT0010588
                                               1350 NW 138th Street, Suite 100
                                               Clive, Iowa 50325-8308
                                               (515) 222-9400

                                               ATTORNEYS FOR NATIONSTAR MORTGAGE
                                               LLC DBA MR. COOPER
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                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the above and foregoing Motion
for Relief from Automatic Stay was electronically mailed and/or mailed by United States mail,
postage prepaid this 5th day of October, 2018, to the persons listed below.


                                            /s/ Rachelle Bennethum________
                                            Rachelle Bennethum


COPIES TO:

U.S. Bankruptcy Trustee
Southern District of Iowa
Federal Building, Room 793
210 Walnut Street
Des Moines, IA 50309

Michael L. Jankins, Attorney
700 2nd Avenue, Suite 103
Des Moines, IA 50309

Charles L. Smith, Trustee
25 Main Place, Suite 200
PO Box 248
Council Bluffs, IA 51502
Case 18-02019-als7                        Doc 13                  Filed 10/05/18 Entered 10/05/18 13:16:13                                                           Desc Main
                                                                 Document      Page 4 of 26 AMERICAN
                                                                                                                                               General
                LOAN AGREEMENT AND DISCLOSURE STATEMENT                                                                                        FINANCIAL SERVICES


    DATE       07/20/07                                                            ACCOUNT NUMBEI^H^MV                                     TYPE OF LOAN(Alphdg|H^
    LENDER/SECURED PARTY NAME AND ADDRESS("Lender")                                                LENDER'S TELEPHONE NUMBER^^H^I^V
    AMERICAN GENERAL FINANCIAL SERVICES, INC.
    2501 S CENTER ST
    MARSHALLTOWN, lA 50158-4548


    BORROWER(S)NAME AND ADDRESS("l","We")
    YODY K NEELEY
    TERRY A NEELEY
    9093 NEWTON ST
     GRINNELL, lA 50112

   I will read this entire Loan Agreennent and Disclosure Statement C'Agreement") and all related documents carefully. If I have
   any questions, I will ask them before I sign any of these documents. By signing, I am indicating my agreement to the
   statements, promises, terms, and conditions contained in the documents I sign.
                                                                 TRUTH IN LENDING DISCLOSURES
     ANNUAL PERCENTAGE RATE                                FINANCE CHARGE                         AMOUNT FINANCED                          TOTAL OF PAYMENTS
        The cost of my credit as a yearly rate.              The dollar amount the               The amount of credit provided         The amount I wilt have paid after I have
                                                             credit will cost me.                to me or on my behalf.                made all payments as scheduled.
                             •10.75 %                        $         56363.00                  $            39229.00                 $         95592.00

     My Payment Schedule will be:

       Number of Payments              Amount of Payments                     When Payments Are Due

               240                     $ 398.30                               monthly beginning 08/25/07




    lATE CHARGE:             If any payment is not paid(n full within _1Q days after Its due data, I will be charged 5.nn % of the impgfrt amount of the
                             payment, but not more than $ 15.00 or less than $ N/A


                             If any payment Is not paid In full within           days after its due date, I will be charged S           .If the entire scheduled payment
                             exceeds S                or S                Ifthe entire scheduled payment is$                or less.
    PREPAYMENT: If I pM,off early:

                              may             . I will not        have to pay a penalty or minimum charge.

                         n               0                        get a refund or credit of part of the finance charge.
    SECURITY: I am giving Lender a security interest In:

             Real estate located at: 9093 NEWTON ST
                                      GRINNELL, IA 50112

     □            Year          Mato                   Model                 Vehicle Idontiflcotlon No.

     Motor
    Vehicles



                                other Assets Desciiplion
     □
     Other




      Q Household items described on the Personal Property Appraisal Form, which 1 havs signed and which has been delivered to me with (his Agreement.
    ASSUMPTION; Someone buying my home. If It secures this loan, may not assume the remainder of this loan on the original terms unless approved by Lender.
      n My loan contains a varlaWe-rato feature. Disclosures about the variable-rate feature have been provided to me earlier.
    prepaymCTtreftm^^                           additional information about nonpayment, default, any required repayment In full before the scheduled date, and
                                    THIS AGREEMENT IS SUBJECT TO THE FEDERAL ARBITRATION ACT.
    By signing below, I acknowledge receipt of a copy of this Federal Disclosure Statement.


                                                                                      Borrowei
                                                                                             "V       ^       -

                                                                                      Co-Borrower         ^
                                              SEE REVERSE SIDE FOR ADDITIONAL DISCLOSURES                                                                EXHIBIT
  UNAA91 (01-15.06) Agreemonl (1-2)
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                                                                                                                    Nancy Parrott County Rocordor
     6
      g Trans Fee                                                                                                  "ia2007-00004490




            This instrument prepared by:
            AND RETURN TO; MISTRY MAXWELL FOR AMERICAN GENERAL FTWAWnTAT. SF.RVTf^RR                                                     TNH.
               2501 S CENTER ST., MARSHALLIOWM, ^'"11)158
                                              (tress)                                                         (city/stete/zlp)

                                           (telephone #)
                                                                  BEAL ESXAIE HOBXGACE
                                                                                                                  American
                                                                                                                     GENERAL
                Terry A. Neeley and Yody K. Neeley, Husb^ an4i,Wif^                                                           MNANOAL SERVICES
              Joinfc .Tenants with full rights of su'^lvoYdtep''^d"'.not as tenants in
                                                             ■                " ~      •—          —              ''^"^iWBfipaqors
           are Indebted to /ynerloan Seneral Financial Services, inc., Mortgagee on their.Pfornlssory Note/Loan Agreernent of even
           date herewith in the arhount of S 39229.00                              and, evidencing a loan made by said Mortgagee. According .to the
           terms Of s^d n.ote/toan agreement, payment may be made,in advance in any arhount at any tim$ and default thereunder as
           defined in Section 5.109 ofihe Iowa Consumer Credit Code, and subject to-8eqtlohs 5.110 and 5.111 of said code, shall,- at
           the option of the holder.ther^f and without notice'or derhand unless retfuired by.law, render the entire unpaid balance
           thereof at once due and payable less any required refuiid or credit or finance-charge and this mortgage and may be
           foreclosed by action In court by equitable proceedings.
                  NOW THEREFORE,In con'slderation of said loan and to further secure,the payment of said note/loan agreement and
           my note/loan agreement or notes/loan agrejSmeiifs.wecuted.and deliver^ td Mortgagee by Mortgagors,at any.titne before
           the entire fhdetrtedn.e^s secured hereby.shaii'bd paid in fuiUevldencing a reffnaricirig of any unpaid balarice'of the hote/loah
                                                         renewal thereof, or both,)such refinancing notJaxceedlng a total Indebtedness of more
           tnar\. v".fi.                                   thp. Mortgagors.do hereby.convey.tO the. Mortgagee, its successors and-assigris.forever
                                             described; provided,,howeverj iftffO' Mbrtgago'rs wall and truly pay and discharge said
           note/loan agreemenfOrnotes/lbah agreements according tq the terms thereof, theh these presents shall ceaSeahd be void..
                             agreed that said-Mortgager shall pay ailitaxes and.a'ssessmenb levied"upon said real estate before the.
                                                                                                        mortgage may.pay such taxes or assessments.
                      L                  jnterert on the same at the rate provider^ <he note/ioan agceement Secured hereby, and this mortgage
           f, »                                    suph.texos, as3e8sm8nts:and interest so paid; That so long as this mortgage shall remain
           be                                                            thereon Insured in some resporisible company or companies, which shall
           s                                                                             and security, of said" Mortgagee in the sum of not less than
           Lh MnrtnaJlr fall., ♦X fE                        . ®''®Ji              P®"®"®® ®"''          rwelpts th^or to said Mortgagee, and if the
                         ?!• /                  V ®*                'n manner as agreed", then said Mortgagee may effeipt such. Insurance, and
                                              P!^fPOs®s by the.Mortgagee .shall be recovered frcm'Motlgagdr with Interest'thereoh'.at the" rate
           •oHhls mortgage                      aflreement secured hereby, and shall be a lien upon the foregoing premises, under and by virtue
                                                                                loss than ten (10) acres in size, it is further hereby agreed, pursuant to
           six /ai SthS BffeL M^riS *-P®                                  of.red8rnptlon..after sale on foVeolbiiiire.of this mortgage shall :be feducedrtb
           MdrtbaS Sch                                                           foroQijrsure action; any righst to. a deficiency Judgment, against ;the
           tenTio?                           »it fa                        Preceding. If .the tract of re.ai property described herein' ls less.'than
           farflliS.tf               i         ®          hereby agreed, pursuant to Section 628.27, Cbde of lowa,.tHat the court in a .decree of
           . j'                      flnd..afflrrtirtiveiy that said tract has been'abandoned by the o^ers and those persons personaiiy liable
           raJtmnStn  £ fat I
           reaempuorj-after.foreclosure   ^hej/lor^Ogors
                                        shall be reduced toorsb^
                                                              their(60)successors
                                                                         days. in Interest in the foreclosure aoHon, then the period of
                                                                                           ®"P       ®2id property free and clear of ail encumbrances
                                                                                             *P® same aflalhat .the ciaiifns and demands of.aii persons
                                                        l®^°'®Jl?,''®-P^ ''®"P9^         contingent rights in and to the-mortgaged proper^, irrciudlng
           te a                                                                             •?         ^"ffatsWorremliLhWunte'"hZo°.
           slrigufa^ ■           •                    p® thereafter. .Whenever 11)8 context so requires", plural words Shall be construed" in the
          said                                                                                                                            '» «• •«*» " .
                  [J Unless checked, this transaction Is subject to the.lovra Consumer Credit Code.
          DESCRIPTION OF MORTGAGEDREAL ESTATE:


                                                                                                      iq>ofi1Sieviil)urg, Jasper



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                                                               Fee Amount: $37.00
                                                               Revenue Tax;
                                                               Jasper County, Iowa
                                                               Nancy Parrott RECORDER
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    EVANSVILLE>v^N 47706^^969                      2944 FULLERAVE NE.STE 200
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                                  LOAN MODIFICATION AGREEMENT
                (For Modifying Non Recourse Closed End Interest Bearing Mortgage Loans)
                                        Security Instrument Filing Data.
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            This Loan Modification Agreement ("Agreement"), effective on n2/m /T4 (the "Modification
    Effective Date") by and between
    TERRY A NEELEY ANT) YODY K NEELEY


("Borrower") and springleaf financial services, inc.                     F/K/A AMERICAN GENERAL
FINANCIAL SERVICES, INC                       ("Lender"), modifies, amends, and supplements (to the extent
    this Agreement Is inconsistent with their terms): (1) the Mortgage, Deed of Trust. Deed to Secure Debt,
    or Security Deed ("Security instrument"), as set forth herein above, and the Rlder(s), If any, and (2) the
Loan Agreement ("Note") to Lender, dated JULY 20. 2007            , and secured by the Security
Instrument, which covers the real and personal property described in the Security Instrument and
defined therein as the "Property" located at:
9093 NEWTON ST                                   GRINNELL. lA 50112
i        Co//   1066                                                             HLO//
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                                                           22Amount:
                                                               of 26 $12.00
                                                                        Revenue Tax:
                                                                       Jasper County, Iowa
                                                                         Denise Allan RECORDER
                                                                        Instr. Number: 201800004690




         Prepared By: Bernardo Hernandez, NATIONSTAR MORTGAGE DBA MR.COOPER 8950
         CYPRESS WATERS BLVD,COPPELL,TX 75019 1^88-480-2432

         Return By Mail To:
         DOCUMENT ADMINISTRATION
         NATIONSTAR MORTGAGE DBA MR. COOPER
         8950 CYPRESS WATERS BLVD
         COPPELL, TX 75019



                                         CORPORATE ASSIGNMENT OF MORTGAGE
         Jasper.Iowa
         SELLER'S SERVICING!            |"NEELEr

         Date of Assignment: August 16th, 2018
         Assignor U.S. BANK NATIONAL ASSOCIATION AS INDENTURE TRUSTEE FOR SPRINGLEAF
         MORTGAGE LOAN TRUST 2012-1, BY NATIONSTAR MORTGAGE LLC, ITS ATTORNEY-IN-FACT at
         8950 CYPRESS WATERS BLVD, COPPELL,TX 75019
         Assignee: NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER at 8950 CYPRESS WATERS BLVD..
         COPPELL. TX 75019

         Executed By: TERRY A. NEELEY AND YODY K. NEELEY, HUSBAND AND WIFE. AS JOINT TENANTS
         WITH FULL RIGHTS OF SURVIVORSHIP AND NOT AS TENANTS IN COMMON To: AMERICAN
         GENERAL FINANCIAL SERVICES.INC.
         Date of Mortgage: 07/20/2007 Recorded: 07/23/2007 as Instrument No.: 2007-00004490 In the County
         of Jasper. State of Iowa.

         -POWER OF ATTORNEY Dated: 03/16/2018 Recorded: 07/17/2018 as Instrument No.: 2018-02101.
         between U.S. BANK NATIONAL ASSOCIATION. AS INDENTURE TRUSTEE FOR SPRINGLEAF
         MORTGAGE LOAN TRUST 2012-1 and NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER.

         Property Address:9093 NEWTON ST. GRINNELL. lA 50112

         Legal: N/A

         POWER OF ATTORNEY RECORDED ON 08/14/2018 IN INSTRUMENT NO. 201800004537 IN
         JASPER COUNTY,IOWA


           KNOW ALL MEN BY THESE PRESENTS,that for good and valuable consideration, the receipt and
         sufficiency of which Is hereby acknowledged, the said Assignor hereby assigns unto the above-named
         Assignee, the said Mortgage having an original principal sum of $39,229.00 with interest, secured
         thereby, and the full benefit of all the powers and of all the covenants and provisos therein contained, and
         the said Assignor hereby grants and conveys unto the said Assignee, the /\ssignor's interest under the
         Mortgage.

              TO HAVE AND TO HOLD the said Mortgage, and the said property unto the said Assignee forever,
         subject to the terms contained in said Mortgage.

          U.S. BANK NATIONAL ASSOCIATION AS INDENTURE TRUSTEE FOR SPRINGLEAF MORTGAGE
         LOAN TRUST 2012-1, BY NATIONSTAR MORTGAGE LLC, ITS ATTORNEY-IN-FACT
         On August 16th. 2CU8




         MOHAMED HAMEEi^. Vice-President



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Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          
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         1XPEHU6WUHHW&LW\6WDWH	=LS&RGH   8QOLTXLGDWHG
                                                  'LVSXWHG
 :KRRZHVWKHGHEW" &KHFNRQH                    1DWXUHRIOLHQ&KHFNDOOWKDWDSSO\
 'HEWRURQO\                                  $QDJUHHPHQW\RXPDGHVXFKDVPRUWJDJHRUVHFXUHG
                                                       FDUORDQ
 'HEWRURQO\
  'HEWRUDQG'HEWRURQO\                     6WDWXWRU\OLHQVXFKDVWD[OLHQPHFKDQLF
VOLHQ
 $WOHDVWRQHRIWKHGHEWRUVDQGDQRWKHU        -XGJPHQWOLHQIURPDODZVXLW
  &KHFNLIWKLVFODLPUHODWHVWRD               2WKHULQFOXGLQJDULJKWWRRIIVHW    0RUWJDJH
       FRPPXQLW\GHEW

 'DWHGHEWZDVLQFXUUHG                                    /DVWGLJLWVRIDFFRXQWQXPEHU        

      9HULGLDQ&UHGLW8QLRQ                    'HVFULEHWKHSURSHUW\WKDWVHFXUHVWKHFODLP                                                      
         &UHGLWRU
V1DPH                          6XEDUX2XWEDFNPLOHV

                                                  $VRIWKHGDWH\RXILOHWKHFODLPLV &KHFNDOOWKDW
         32%R[                              DSSO\
         :DWHUORR,$                       &RQWLQJHQW
         1XPEHU6WUHHW&LW\6WDWH	=LS&RGH   8QOLTXLGDWHG
                                                  'LVSXWHG
 :KRRZHVWKHGHEW" &KHFNRQH                    1DWXUHRIOLHQ&KHFNDOOWKDWDSSO\
 'HEWRURQO\                                                                     
                                                  $QDJUHHPHQW\RXPDGHVXFKDVPRUWJDJHRUVHFXUHG
 'HEWRURQO\                                       FDUORDQ                                                                    EXHIBIT
  'HEWRUDQG'HEWRURQO\                     6WDWXWRU\OLHQVXFKDVWD[OLHQPHFKDQLF
VOLHQ
 $WOHDVWRQHRIWKHGHEWRUVDQGDQRWKHU        -XGJPHQWOLHQIURPDODZVXLW                                                    _____D_____
2IILFLDO)RUP'                                6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                                       SDJH  RI 
6RIWZDUH&RS\ULJKWF%HVW&DVH//&ZZZEHVWFDVHFRP                                                                                          %HVW&DVH%DQNUXSWF\
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                                                 Page 26    47
 'HEWRU 7HUU\$OOHQ1HHOH\                                                                         &DVHQXPEHULINQRZ
              )LUVW1DPH                0LGGOH1DPH                     /DVW1DPH
 'HEWRU <RG\.D\1HHOH\
              )LUVW1DPH                0LGGOH1DPH                     /DVW1DPH


  &KHFNLIWKLVFODLPUHODWHVWRD               2WKHULQFOXGLQJDULJKWWRRIIVHW   6HFXULW\$JUHHPHQW
     FRPPXQLW\GHEW

                              )HEUXDU\
 'DWHGHEWZDVLQFXUUHG                               /DVWGLJLWVRIDFFRXQWQXPEHU




   $GGWKHGROODUYDOXHRI\RXUHQWULHVLQ&ROXPQ$RQWKLVSDJH:ULWHWKDWQXPEHUKHUH                             
   ,IWKLVLVWKHODVWSDJHRI\RXUIRUPDGGWKHGROODUYDOXHWRWDOVIURPDOOSDJHV
   :ULWHWKDWQXPEHUKHUH                                                                                            

 3DUW    /LVW2WKHUVWR%H1RWLILHGIRUD'HEW7KDW<RX$OUHDG\/LVWHG
 8VHWKLVSDJHRQO\LI\RXKDYHRWKHUVWREHQRWLILHGDERXW\RXUEDQNUXSWF\IRUDGHEWWKDW\RXDOUHDG\OLVWHGLQ3DUW)RUH[DPSOHLIDFROOHFWLRQDJHQF\LV
 WU\LQJWRFROOHFWIURP\RXIRUDGHEW\RXRZHWRVRPHRQHHOVHOLVWWKHFUHGLWRULQ3DUWDQGWKHQOLVWWKHFROOHFWLRQDJHQF\KHUH6LPLODUO\LI\RXKDYHPRUH
 WKDQRQHFUHGLWRUIRUDQ\RIWKHGHEWVWKDW\RXOLVWHGLQ3DUWOLVWWKHDGGLWLRQDOFUHGLWRUVKHUH,I\RXGRQRWKDYHDGGLWLRQDOSHUVRQVWREHQRWLILHGIRUDQ\
 GHEWVLQ3DUWGRQRWILOORXWRUVXEPLWWKLVSDJH

        1DPH1XPEHU6WUHHW&LW\6WDWH	=LS&RGH                                          2QZKLFKOLQHLQ3DUWGLG\RXHQWHUWKHFUHGLWRU"
        3HWRVD/DZ//3
        1:WK6W6XLWH                                                         /DVWGLJLWVRIDFFRXQWQXPEHU
        &OLYH,$




2IILFLDO)RUP'                   $GGLWLRQDO3DJHRI6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                               SDJH  RI 
6RIWZDUH&RS\ULJKWF%HVW&DVH//&ZZZEHVWFDVHFRP                                                                                        %HVW&DVH%DQNUXSWF\
